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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           STATESBORO DIVISION

SHARON COLEMAN,                       §
                                      §
Plaintiff,                            §
V.                                    §   CIVIL CASE NO. 6:14-CV-00004               cJ, J)
                                                                                -,
                                      §                                                 CD
UNIVERSITY SYSTEM OF GEORGIA §            JURY DEMAND
                                                                                N)
BOARD OF REGENTS,            §                                                  Ui
HANK HUCKABY, CHANCELLOR,    §                                                  -
                                      §                                                  CD
Defendant.                            §                                         N)

                                                                                         —1



                                    ORDER

        Presently pending before the Court is the Plaintiff's Notice of Dismissal

Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(i).

Accordingly, this case is hereby DISMISSED. The Clerk shall TERI'iIINATE all

deadlines and motions and CLOSE this case.

        ORDER ENTERED this adayfFebruaiy, 2014.




                                HONORABLE B. AVANT EDNFIELI
                                UNITED STATES DISTRICiUDGE
                                SOUTHERN DISTRICT OF GEORGIA
